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                Exhibit 3
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
AMERICAN OVERSIGHT,                            )
                                               )
               Plaintiff                       )
                                               )
       V.                                      )             Case No. 1:25-cv-883
               )
PETE HEGSETH, in his official capacity as
               )
Secretary of Defense, et al.,
               )
               )
   Defendants. )
__________ )

                           DECLARATION OF DAVID P. BENNETT

I, David P. Bennett, declare as follows:

   1. I am the Director of the Office of Information Counsel (OIC), Office of General Counsel

       (OGC), United States Department of Defense ("DoD"). OIC is the DoD OGC section

       dedicated to the practice of information law. Among other areas, the OIC staff provides

       DoD-wide legal advice and assistance on a variety of information law areas, including the

       Freedom of Information Act; privacy; civil liberties; records management; public affairs;

       collections of information; and litigation support, inquiries, and investigations. This

       practice area generally encompasses legal support concerning the creation, collection,

       use, maintenance, retention, safeguarding, disclosure of data and records. I make this

       declaration in opposition to plaintiffs motion for a preliminary injunction. The

       statements in this declaration are based on information and belief obtained by me in the

       course of my official duties.

   2. The Department of Defense received an email from the White House Counsel's Office on

       May 7, 2025, containing a consolidated version of the Signal group chat referenced in the
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       March 24 and 26, 2025, articles in The Atlantic, which was created for federal records

       purposes. The document was created based on publicly available information and

       information saved from participants' phones. The document includes content that has not

       been published by The Atlantic. This document is now saved in FRA-compliant systems

       within the Office of the Secretary of Defense.



May 7 ' 2025   I declare under penalty of perjury that_&=h-e_fo_r_e_g_01_._g_i_s_tru_e_.   _Jd~------
                                                            David P. Bennett
                                                            Director, Office of Information Counsel
                                                            Office of General Counsel
                                                            Department of Defense




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